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Casey Norman

Subject:             FW: CIGIE Case No. 22-048


From: Myers, Stacey H. (OIG)                    @usdoj.gov>
Date: Thu, Jun 8, 2023 at 8:38 AM
Subject: CIGIE Case No. 22 048
To:                @gmail.com                    @gmail.com>


Good morning Mr. Gangloff:




I am writing to you to ask if you would agree to participate in a voluntary interview concerning the investigation that the
DOJ OIG is conducting on behalf of the Integrity Committee (IC) of the Council of the Inspectors General on Integrity and
Efficiency (CIGIE) into whether certain senior officials in the U.S. Social Security Administration (SSA) Office of the
Inspector General (1) abused their authority or grossly mismanaged the SSAs Civil Monetary Penalty (CMP) program, or
otherwise managed the CMP program in violation of applicable laws, rules, or regulations; and/or (2) demonstrated a
lack of the integrity or independence reasonably expected of senior officials in the Inspector General community in their
actions with respect to the CMP program.

You are a subject of this investigation, and you received notice of your status as a subject on June 7, 2022.




We would like to schedule an in person interview with you at the DOJ OIG offices, which are located in the 4CON
building at 150 M Street N.E. Washington D.C. on the 12th Floor. Consistent with our usual practice, the interview
would be under oath, audio recorded, and transcribed.




My team is available to speak with you on any of the following dates: July 19, July 20, July 26 or July 27. We would like
to reserve an entire day for this interview, so that we have an opportunity to ask the questions that we have for you,
and also so that you have an opportunity to provide any information you would like for us to consider in connection with
the investigation. Please let me know whether you are interested in participating in a voluntary interview, and if so, if
any of the above dates would work for you.




If you have any questions you can reach me via email at this address, or directly by calling




Very truly yours,




Stacey H. Myers

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Investigative Counsel

Oversight and Review Division

U.S. Department of Justice, Office of the Inspector General

150 M Street N.E., 12th Floor

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Cell Phone:




Joseph E. Gangloff

              @gmail.com




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